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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

       Plaintiff,                                Case No. 2:05- cr-80955-AC-RSW

 v.                                              Hon. Avern Chon

 DEMETRIUS EDWARD FLENORY,

       Defendant.

 ______________________________/



                                    MOTION WITHDRAW

               On or about December 5, 2018, the Defendant filed a Motion and Brief for

 Reduction of Sentence Pursuant to 18 USC 3582(C)(2). (ECF No. 1599) The

 Defendant, Demetrius Edward Flenory, by and through his attorney Jeffrey G. Collins,

 hereby withdraws the aforementioned motion.


                                                      Respectfully submitted


                                                      /s/:Jeffrey G. Collins
                                                      Attorney for Defendant
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 Date: March 27, 2019
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                                  CERTIFICATE OF SERVICE

              I, Jeffrey G. Collins, hereby certify that on March 28, 2019 I served a copy
          of the foregoing Motion Withdraw to the Clerk of the Court using the ECF
          system, which will send notification of such filing to all counsel of record.

                                                              /s/Jeffrey G. Collins
                                                              Jeffrey G. Collins
